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                      EXHIBIT 18
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         From:                    Richard Wheelahan
         Sent:                    Thursday, April 28, 2016 1:01 PM EDT
         To:                      Bryan D. Kelley; James Howe; Kallie Hapgood
         CC:                      Joe Alala III; Casey Swercheck
         Subject:                 Capitala Term Sheet Proposal 04 28 2016
         Attachments:             Capitala Term Sheet Proposal 04 28 2016.doc


         Bryan,

         In follow up to our discussions, attached is a revised term sheet with Capitala’s comments, including the
         carve-out list.

         Joe’s traveling this afternoon, but please let me know if you would like to set aside a time to discuss
         later today (subject to availability) or tomorrow.

         Richard


         Richard G. Wheelahan III | CCO · General Counsel
         Capitala Group
         4201 Congress Street | Suite 360 | Charlotte, NC 28209
         p 704 936 4928 | m 205 960 5144 | CapitalaGroup.com


         Capitala             &




         This message contains information which may be confidential and privileged. Unless you are the intended
         addressee (or authorized to receive for the intended addressee), you may not use, copy or disclose to anyone the
         message or any information contained in the message. If you have received the message in error, please advise the
         sender by reply at rwheelahan@capitalagroup.com and delete the message.




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       Capitala
      Term Sheet Proposal for
      Capitala Private Credit Fund V, L.P.



                            NovaFund Advisors, a Division of Columbus Advisory Group
       Advisor:
                            LTD, member FINRA and SIPC (collectively “NovaFund”).


       Services             NovaFund will make best efforts to place partnership interests in
                            Capitala Private Credit Fund V, L.P. (the “Fund”) with North
       Provided:
                            American, European, Australian and Asian investors (“Target
                            Investors”). NovaFund will begin advisory work immediately with
                            Capitala Group LLC (“Capitala”) to assist with the preparation of
                            offering materials and, in coordination with Capitala, contacting
                            potential Fund investors.


                            NovaFund’s services may also include the following:


                             (i)    advising Capitala in producing a marketing presentation
                                    and private placement memorandum to be used with
                                    potential investors that are considering a commitment to
                                    the Fund.


                             (ii)   advising and assisting Capitala in making presentations to
                                    Target Investors, including assisting with the preparation of
                                    a   composite    track   record   presentation,   marketing
                                    documents and other offering and due diligence materials




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                                     to be sent to potential investors;


                             (iii)   advising and assisting Capitala with the preparation of an
                                     on-line fund data site and preparations and delivery of due
                                     diligence materials, investor questionnaires and related
                                     financial analyses with respect to the private placement,
                                     and;


                             (iv) working with Capitala’s legal counsel and other relevant
                                     parties to document and close the Fund.




       Travel and           Capitala shall reimburse NovaFund on a timely basis for
                            documented out-of-pocket expenses related to its due diligence
       Entertainment
                            and marketing of the Fund (including, without limitation, all
       Expenses
                            reasonable entertainment, travel, lodging, third-party legal and
                            related due diligence trip fees and expenses) incurred by
                            NovaFund in connection with the performance of the services for
                            the Fund, up to a maximum of $2500,000.
       Fee Proposal
                            As compensation for the advisory and exclusive placement
                            services to be provided by NovaFund hereunder, Capitala
                            agrees to pay NovaFund a monthly fee of $205,000 (“Retainer
                            Fee”). The Retainer Fee will be paid until the sooner of: 1) the
                            first close of Capitala Fund V (if such close constitutes
                            commitments for which NovaFund is paid a success fee in
                            excess of $200,000), or 2) $200,000 of retainer fees have been
                            paid. The first monthly installment of the Retainer Fee will be



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                            due on MayFebruary 15, 2016.


                            Capitala will agree to compensate NovaFund in an amount equal
                            to 1.5% of the Fund’s invested capital for any Target Investor
                            that subscribes to the Fund or a separately managed account
                            (“Success Fee”). Should Capitala agree to a lower management
                            fee than 1.5% for any Target Investor, NovaFund will earn a fee
                            equal to one year of the Company’s management fee from the
                            Target Investor, but in no case less than 1.0% of committed
                            capital for the Target Investor(s); provided, however, that no
                            Success Fee shall be earned by NovaFund in respect of capital
                            raised for traded credit vehicles with distinct investment
                            strategies from the Fund. Retainer Fees will offset Success Fees
                            at the rate of 50% until all Retainer Fees have been rebated.
                            The Success Fee will be paid quarterly based on invested capital
                            with NovaFund’s total Success Fee being paid in full in 30
                            months. In addition to Success Fees, NovaFund will be due a
                            fee for capital commitments from Target Investors to anythe next
                            Capitala-sponsored successor vehicle with a substantially similar
                            strategy at the rate of 50 basis points of such capital
                            commitments; provided, however, that NovaFund may not earn
                            Success Fees or other fees in excess of (a) the Success Fee
                            plus (b) 50 basis points in respect of any Target Investor.


                            It is understood that no Fee shall be payable with respect to
                            commitments by the Manager or General Partner of the Fund or
                            executives of Capitala or any of their respective officers,
                            directors and employees and any such officer’s, director’s or



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                              employee’s immediate family members (and any investment
                              vehicles controlled by or established primarily for the benefit of
                              any such officer, director, employee and/or his or her immediate
                              family members), for its or their own accounts, or for investors
                              previously known to Capitala (“Schedule 1 - Carve Out
                              Investors”), up to $1500 million in commitments.


                              At NovaFund’s discretion, a separate engagement letter to be
                              initiated by NovaFund may be entered into between Capitala and
                              NovaFund that addresses market standard legal and compliance
                              terms related to indemnification, representation and warranties,
                              confidentiality, sunset and other legal and regulatory matters (the
                              “Agreement”). This proposal shall expire on March May 11, 2016
                              at 5:00pm Eastern Standard Time unless executed by Capitala.




           Agreed to and Accepted by:


           NovaFund Advisors                    Capitala Group LLC




           Name: Bryan Kelley                   Name: Joseph B. Alala, III
           Title: Principal                     Title: Chairman and CEO




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           Name: James Howe
           Title: Principal




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               Schedule 1 – Carve Out Investors
               Hamilton Lane and clients
               Kemper InsuranceSee Attached
               Name
               40/86 Advisors
               Aegon USA Investment Management / Transamerica
               Alpheus Capital
               Amalgamated Casualty Insurance Company
               American Equity Investment Life
               American Money Management Corporation
               American Mutual Life Association
               Americo Financial Life
               AMZAK Capital
               Auto-Owners Insurance
               BB&T Capital Markets
               Beneficial Life
               Blue Cross Blue Shield of Michigan
               Boston Partners
               Brookside Family Office
               Brown Forman Pension
               C N A Financial Corporation
               Cambridge Associates
               Cigna
               Cincinnati Financial
               Clearwell Group
               Consector Capital
               Constellation Wealth Management (UBS)
               CranRidge Capital
               Crestline
               Davis Capital Partners
               Delaware Life


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               Deutsche Bank
               Dupont Capital Management
               Edge Capital Partners
               Endeavor Capital
               Farm Bureau Financial Services
               Federated Insurance
               Fidelity & Guaranty Life
               First Republic
               Florida Pension
               Forrestal Capital
               Franklin Park
               Genspring
               Georgetown University
               GLJ Capital
               Global Endowment
               GOLDING Capital Partners
               Golden Leaf / NC Tobacco Settlement Fund
               Grays Creek Capital Partners
               Grove Street Advisors
               Hamilton Lane
               HB Capital
               Hillman Foundation
               Hirtle Callaghan
               Homrich Berg
               ING
               James Gibson
               James River Insurance Company
               Jefferies
               JM Family Enterprises
               JP Charter Oak Advisors
               Kemper Insurance



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               Knights of Columbus Insurance
               KY Retirement System
               KY Teachers Retirement System
               Laurel Wealth Advisors
               LCG Advisors
               Manulife Financial
               Massachusetts Mutual Life Insurance
               Method Advisors
               Morgan Creek
               National Life Group
               National Western Life
               NC Treasurer / NC Teachers
               Palm Beach Capital
               Pantheon
               Penn Mutual Insurance Company
               Progressive Insurance
               Prospector Partners
               Protective Life Insurance
               Resource America
               RIN Capital
               Rose Family Office
               Sandler O'Neill
               Shuford Family Office
               Socius Family Office
               Standard Life
               StarMountain Capital
               Steve Leeolou
               The Family Office
               The Keith Corp
               Third Lake Capital
               Thrivent Financial



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               Timucuan Asset Management
               Torchmark Corporation
               Travelers
               UBS Broker - Gordon Semenuik
               United Heritage Insurance
               USAA
               Vaupen Financial Advisors
               Vios Capital
               Warlick Family Office
               Washington University
               WE Family Offices
               Wilbanks, Smith and Thomas
               William B Allen
               Wilshire Associates
               Worth Financial Advisory Group
               WP Global




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